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                 Douglas Johnson, Ph.D.


 APPENDIX B – Full Page Maps
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                          Claiborne               Union
                                                                  Morehouse
                                                                                         East Carroll
        Bossier
                                       Lincoln
                                                      Ouachita             Richland
Caddo
                       Bienville                                                          Madison
                                           Jackson


 De Soto                                                                  Franklin
              Red River                                    Caldwell
                              4                                                          Tensas

                                           Winn
                                                                      Catahoula
                     Natchitoches
                                          Grant        LaSalle


            Sabine                                                        Concordia



                                           Rapides
                     Vernon                                    Avoyelles

                                                                                           5
                                                                                             East Feliciana                     Washington

                                              Evangeline                 Pointe Coupee
              Beauregard                                                                                    Tangipahoa
                               Allen                         St. Landry                 East Baton Rouge
                                                                                  West Baton Rouge Livingston    6
                                                                                                                                 St. Tammany

             Calcasieu                            Acadia                                 Iberville
                                                            Lafayette                                Ascension
                                                                            St. Martin                      St. John the Baptist     Orleans
                                                                                                     2   St. James
                                                                         Iberia
                                                                                               Assumption            St. Charles                    St. Bernard
                                      3
                  Cameron                          Vermilion
                                                                              St. Mary
                                                                                                                             Jefferson

                                                                                                                     Lafourche                 Plaquemines


                                                                                                        Terrebonne          1




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                                                                                    Sterlington                       Collinston




                  Downsville

                                                 4

                                                                                                         Swartz



Choudrant
                                                       Claiborne                             Lakeshore

                                Calhoun                         West Monroe
                                                                                        Monroe

                                                         Ouachita                                                 5      Start

                                                            Bawcomville


                                                                                  Richwood




                      Eros




            Chatham                                                                                                                Mangham




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                                                      4
                              Colfax

                                                                        Pollock




                                                           Prospect
                                             Rock Hill
                                                               Creola
                                                                                  Ball

                                   Boyce


                                                     Rapides
                                                                             Pineville
                                                                                                                           Deville




                                                                   Alexandria

Simpson                                                                                                       5
                                                                                                           Center Point




                         3

                                                         Woodworth



                                                                                                                    Fifth Ward         Marksville
                                                                                                          Echo

                                                                              Lecompte

                                                                                                                                         Mansura
                                                                                                                             Hessmer
                                                     Forest Hill


                                                                                            Cheneyville

                                            McNary                                                                                       Cottonport
                                           Glenmora
                                                                                                                  Bunkie       Evergreen
          Pitkin



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                                             3                                                Ball




                                                                 Pineville
                                                              Municipal Airport
                                                                                  Pineville



Alexandria Int'l
    Airport


                                                               5



                                        Rapides



                                                       Alexandria




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          Branch                              Cankton
                                                                        5                                                        Cecilia



                                                                            Carencro




                                                 Ossun                                                           Breaux Bridge




           Rayne
                             Duson                     Scott


                                                                                                                                           Parks
Crowley
                                                                        Lafayette
                                                                                                                          2




                                                      Lafayette
                                       3
                                                                                                     Broussard


                                                                                                                                  St. Martinville

                                                               Milton
                                            Maurice

                                                                                                                   Cade
                                                                                       Youngsville




                                                                                                                     Iberia
                                           �2021 CALIPER; �2020 HERE                                                                   New Iberia
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                                                    Carencro
                                                                                                                                                       98
                                                                                                                                                                            31



                                                                                    49




Ossun
                                                                                                                                                  10
                                                                                                                                                                      354


        723                                                                     5
                                                      182




                                                                                                       728

                                                                                           167


                     725




                                                                                                                                                             94
                                        10




        Scott

                           3184


                                                                               Lafayette
                90

                                                                                                 176         3138


                                             3025
                                                                                                                                            353




                                                                   Lafayette


        93




                                                                                                              729
                                                                                                                                                            St. Martin

                                                                                                                    90

                                                               3                                                                                                  2


                                  167
                                                                                          182
                                                                                    �2021 CALIPER; �2020 HERE
                                                                                                                                Broussard
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                Lafayette
                                        St. Martinville
             Milton
                                                                                                           2                                                   Ascension
                 Lafayette       Cade

                                                          Loreauville
                                                                                                                                                                 Belle Rose

                                                                                                                                               Bayou Corne
                                           New Iberia
                                                                              Iberia                                                                          Paincourtville
 Abbeville
                  Erath                                                                                                                  Pierre Part
Perry

                                                    Lydia
                                                                   Jeanerette

                                                                                  Sorrel
                                                                                           Charenton

                                                                                           Baldwin

                                                                        Glencoe

                                                                                                Franklin

                                                                                                               Centerville


                                                                                                                                                              Bayou L'Ourse
                                                                                                                                          Morgan City
                                                                                                     1                       Patterson        Siracusaville

                                                                                                                                                        Amelia




                            3




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      88




                     182

                                                                                             347



                                                                                   31
                                                                                        86




                                 3212

                                                                                                                      344
                                                                                677

                                              674




                                                                                                                                          86
                                                                         Iberia                          2
                                                                     New Iberia

                                                                             182
                           675




                90


                                                                                                                                    320

                                                                                                                            87

676        14




                                                                                                                                  182




                             329
                                                            83              3


                                                                                                                            674

                                                                 �2021 CALIPER; �2020 HERE
